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        (773)231-7023                                                                      ' #                  :j;r
 3 jnmesstem@thejamesstermcom                                                                    .
 4                  UNITED STATES DISTRICT COURT FOR THE W ESTERN DISTRICT OF VIRGINIA

 5                                            CH ARI,
                                                    OTTESV ILLE D IVISTION

 6      Elizabeth Sines,Et,A l                                CaseN o.:3:17-cv-00072-N KM

 7                      Plaintiftl
 s      vs.                                                   M OTION FOR S      RY JUD GM EN T BY TH E
                                                              COURT.A S A M ATTER OF LAW
 9      NATION AL SO CIALIST M OV EW N T,
10                      D efendant

11                      InIaw,a summaryjudgment(alsbjudgmentasamatterofIaw)isajudgmententered
12 byacoudforone padyandagainstanotherpadysummaril
                                                 y,i.e.,withoutafulltrial.Suchajudgment
13 may be issued on the merits ofan entire case,oron discrete issues in thatcase.In thi
                                                                                      s case The

14 NationalSocialistMovementaskthiscourtto issuesuchjudgmentagainstit,basedonthetruthofa1I
15 statements made in plainti#s'complaintagainstthe defendantNationalSocialistMiwementbeing true. lt
16 i
   sthe decisionoftheNationalSocialistMovementt: plead IiabletoalIcausesofactionsIisted inthe
17 complaintagainstit.Thisliabl
                              e pleadis inthe interestofjusticeaidTax payersDollarsnotto take up
18      valuabl
              e time ofthiscourtthatcan serverbestto resolve unresolvqd case,i
                                                                             tis the position ofthe NSM

19      this matteris resolved wi
                                th a Ii
                                      able Plead. As a m atterofIaw thiscourtcan base its decision on the
20 amended statementin thi
                         s moti
                              on thatthe NationalS6ci
                                                    alistMovementi
                                                                 s Liabl
                                                                       e to aIIcauses ofactions
21 stated againsti
                 t. IJames HartStern the Director,Presidentofthisorgani
                                                                      zation,the firstand only Black
22 Man,African Ameri
                   can,one thatdo nothold the values ofthe Nationalistto be gi
                                                                             ven contröloverthe
23 IargestNeo Naziorgani
                       zation in the world bythe formerDirectorof25 years and dictator,Ihave been
24      privilege to informationthatmake this decisi
                                                   on possible.There i
                                                                     s no one vlse with in the corporati
                                                                                                       on that
25      can Iegally challenge this decision,so there is no chance ofthis deci
                                                                            sion being appealed.IJames Had
26      SternTaking overthe Nati
                               onalSoci
                                      alistM ovementFebruary 15,2019 having no officialorcausal
27       relationship wi
                       ththis group prior,take no personalIiabilities ofany ofits action,itisJam es HartStern
28 actions offiling forSum maryJudgm entthatrights a wrong thatis over25 years coming. Itwas and is m y
        M OTION FOR S                Y JU DGM EN T BY TIm COURT.AS A M ATTER OF LAW -1



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    l responsibilityto the truth and humanity to carry this outwithoutdelay. YourHonorJustice m ustbe
    2     served and the truth mostbe told. Consequences mustbe excepted,so itis wi
                                                                                  th this Iask thiscourtto

          grantmy motion forSummary Judgmentagainstthe NationalSocialistMovem ent
    4

    5      February27,2019

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    1                                                        amesHartsternoirec ormresidentofthexational
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    8                                                       socialistM ovement

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          M OTION FOR S         Y JUDGM ENT BY TFIE COURT.AS A M ATTER OF LAW -2


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